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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 1:19-25100-cv-DLG

  ALAN WIEGAND and KIMBERLY
  SCHULTZ-WIEGAND, Individually and as
  Personal Representatives of the Estate of
  Chloe Wiegand, deceased minor,

                Plaintiffs,

  v.

  ROYAL CARIBBEAN CRUISES LTD.,

              Defendant.
                                     /

                     ROYAL CARIBBEAN CRUISES LTD.’S MOTION TO DISMISS
                   THE COMPLAINT FOR FAILURE TO STATE A CAUSE OF ACTION

       Defendant Royal Caribbean Cruises Ltd. (“RCL”), under Federal Rule of Civil Procedure

  12(b)(6), seeks dismissal of the Complaint (ECF No. 1) and states:

                                          Preliminary Statement

       The death of Chloe Wiegand is a sad tragedy. The members of the RCL family, many of

  whom are parents themselves, are part of the large collective that has been gripped and saddened

  by the untimely loss of Chloe.

       Unfortunately, RCL can no longer limit its expressions to those of sympathy and support.

  After months of bearing false and inaccurate accusations, from the Wiegands’ attorneys through

  the press, RCL now faces the legally mandated task of responding to a lawsuit the Wiegands’

  attorneys did not file in good faith.

       This is not a case of an unknowing child approaching an open window and falling out

  because the window was defective or improperly positioned. Rather, this is a case about an adult

  man, Chloe’s step grandfather who, as surveillance footage unquestionably confirms: (1) walked
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  up to a window he was aware was open; (2) leaned his upper body out the window for several

  seconds; (3) reached down and picked up Chloe; and (4) then held her by and out of the open

  window for thirty four seconds before he lost his grip and dropped Chloe out of the window.

       His actions, which no reasonable person could have foreseen, were reckless and irresponsible

  and the sole reason why Chloe is no longer with her parents. As Puerto Rico’s Attorney General,

  whose justice department is criminally prosecuting Chloe’s step grandfather has publicly

  declared, “[a] careful review of said video confirms, however that [Chloe’s step grandfather] is

  guilty of negligent homicide as charged.”1

       While the video clearly demonstrates the factual misstatements in the Complaint, it is not

  necessary for the Court to address these since Plaintiffs fail to state a claim upon which relief can

  be granted. More precisely, Plaintiffs’ claims must fail because:

  1.      Plaintiffs’ injury was caused by Mr. Anello’s irresponsible and reckless act of holding

          Chloe out of a window he knew to be open, and not any purported negligence on the part

          of RCL.




  1
          Mr. Anello’s actions were captured by two separate video surveillance cameras on the
          ship. While RCL has avoided releasing them, they were broadcast on Puerto Rican TV
          and are therefore now in the public domain. See CBS This Morning, Grandfather offered
          plea deal in girl’s cruise ship death as Puerto Rico TV show airs video, CBS NEWS
          (Dec. 18, 2019, 4:40 PM), https://www.cbsnews.com/news/cruise-ship-death-sam-anello-
          offered-plea-deal-in-death-of-granddaughter-chloe-wiegand-after-video-leaked/.         (last
          visited Dec. 23, 2019). RCL submits the footage from two cameras in five separate files.
          The first two files contain footage from each camera and in its original format. To view,
          the Court      will need to download a proprietary video player that RCL is
          contemporaneously submitting. Alternatively, undersigned can provide a laptop computer
          with the proprietary software already installed. The second and third files contain the
          identical footage in higher resolution. The fifth file contains a side-by-side view of the
          two higher resolution videos. RCL is moving to conventionally file the videos with the
          Clerk and, per the Court’s Judicial Assistant, is also submitting the video files and video
          player to the Court and Plaintiffs’ counsel via email.


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  2.      No facts are alleged that would show RCL knew or had reason to know there was any

          dangerous condition that would result in Chole’s death.

  3.      RCL owed no duty to warn Plaintiffs of the open and obvious danger associated with

          putting a child through an open window. Such reckless actions require no warning.

          Individuals merely need to use their basic senses to appreciate the obvious nature of the

          danger. And:

  4.      Plaintiffs fail to sufficiently allege that any of RCL’s purported acts or omissions was the

          proximate cause of the incident or that they owed a duty to prevent the unforeseeable and

          irresponsible acts of Chloe’s step grandfather.

  For these reasons and those that follow, RCL requests the Court grant their Motion to Dismiss.

                                 Video Footage Depicting Incident

       Safety is a core value at RCL, which includes the safety of RCL’s vessels and the passengers

  traveling aboard. Because the Complaint misstates and omits key facts leading to the tragic loss,

  RCL has filed and submitted the video that supports that no unsafe condition existed, or that it

  contributed to this accident. Although the Court need not consider the video to find that the

  Complaint should be dismissed for failure to state a cause of action, RCL submits the video

  because it shows the circumstances that led to this accident. As noted, there is no need for the

  Court to rule on the clear facts shown in the video in order to grant RCL’s motion to dismiss.

  However, the Court may decide to accept the video’s depiction of the accurate facts of what

  occurred instead of the Plaintiff’s unsupported allegations. See Scott v. Harris, 550 U.S. 372, 380

  (2007); see also Morton v. Kirkwood, 707 F.3d 1276, 1284 (11th Cir. 2013) (“where an accurate

  video recording completely and clearly contradicts a party’s testimony, that testimony becomes

  incredible”).



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     There are two closed-circuit television cameras which captured the events leading to the fall.

  The still shots taken from the videos show:

         1.        Mr. Salvatore Anello, wearing a dark short sleeve shirt (see red circle) following

  Chloe, wearing a white hat (see second red circle), towards the open window on Deck 11:




         2.        When he arrives at the open window, and while Chloe is on the floor, Mr. Anello

  leans his upper-torso over the wooden railing and out of the window frame for approximately

  eight seconds:




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         3.     Because Mr. Anello had himself leaned out the window, he was well aware that

  the window was open. In addition, the windows in question consist of greenish-tinted glass

  making it open and obvious where a window is open versus closed.

         4.     And as these photographs and the photos included in the Complaint show, the

  window was several feet off the deck. Further, the photographs included in the Complaint also

  show the middle glass panes contain a handle to allow the operable windows to be slid open.

  (ECF No. 1, Compl. at ¶ 15).

         5.     Next, Mr. Anello leans down and picks Chloe up, lifting her over the wooden rail

  towards the open window located several feet off the deck:




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         6.     Mr. Anello stays in front of the open window and exposes Chloe to the open

  window, which was 11 decks high off the ground, with nothing but a concrete pier below, for

  approximately 34 seconds at which time she unfortunately fell.




         7.     The only reasonable conclusion from the video is that Mr. Anello knew the

  window was open before picking up Chloe. He nonetheless lifted the child over the wooden rail

  and the open window for a considerable period, recklessly endangering her life. There was no

  “hidden danger” — Mr. Anello knew the window was open. The video contradicts Plaintiffs’



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  version of events and leaves no room to dispute any fact about the incident. Notwithstanding, for

  the reasons stated in this Motion, the Court need not consider the video to find the Complaint

  should be dismissed for failure to state a cause of action.

                                          Memorandum of Law

  I.       Applicable standard

        Dismissal for failure to state a claim is warranted “when it appears that the plaintiff has little

  or no chance of success, i.e., when the complaint on its face makes clearly baseless allegations or

  relies on legal theories that are indisputably meritless.” Aruanno v. Martin County Sheriff, 343 F.

  App’x 535, 536 (11th Cir. 2009); see Ashcroft v. Iqbal, 556 U.S. 662, 129 S. Ct. 1937, 1949–50

  (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007).

        Under Twombly and Iqbal, a sufficient factual basis for the allegation must be alleged. A

  complaint is insufficient if “it tenders ‘naked assertion[s]’ devoid of ‘further factual

  enhancement.’” Iqbal, 556 U.S. at 678. A complaint must contain sufficient factual matter,

  accepted as true, to “state a claim to relief that is plausible on its face.” Id.

        The purpose of a motion to dismiss is to “streamline litigation by dispensing with needless

  discovery and fact-finding.” Neitzke v. Williams, 490 U.S. 319, 326-327 (1989). “As a general

  rule, motions to dismiss should be resolved as soon as practicable to obviate avoidable discovery

  costs, especially where a dubious claim appears destined for dismissal.” Ray v. Spirit Airlines,

  Inc., No. 12–61528, 2012 WL 5471793, at *1 (S.D. Fla. Nov. 9, 2012) (citing Chudasama v.

  Mazda Motor Corp., 123 F.3d 1353, 1368 (11th Cir. 1997)).

  II.      The general maritime law of the United States applies.

        When an injury occurs on navigable waters, federal maritime law governs the substantive

  legal issues. See Everett v. Carnival Cruise Lines, Inc., 912 F.2d 1355, 1358 (11th Cir. 1990);



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  Keefe v. Bahama Cruise Line, Inc., 867 F.2d 1318, 1320-21 (11th Cir. 1989); Kornberg v.

  Carnival Cruise Lines, Inc., 741 F.2d 1332, 1334 (11th Cir. 1984). Maritime law governs

  passenger suits against cruise lines and exclusively sets substantive liability standards,

  superseding state substantive liability standards. See Keefe, 867 F.2d 1318; Kermarec v.

  Compagnie Generale Transatlantique, 358 U.S. 625, 628 (1959). Because this incident occurred

  while Plaintiffs were passengers aboard RCL’s cruise vessel, the general maritime law must be

  applied.

  III.      Plaintiffs do not allege facts to support RCL was on notice, either actual or
            constructive, of any alleged dangerous condition which caused or contributed to the
            incident warranting dismissal of Count I (general negligence).

         The applicable standard of reasonable care requires, as a prerequisite to imposing liability,

  that the carrier have had actual or constructive notice of the risk-creating condition. Keefe, 867

  F.2d at 1322. Generalized knowledge of a danger is not enough to meet this notice prerequisite.

  See Burdeaux v. Royal Caribbean Cruises, Ltd., 562 F. App’x 932, 933 (11th Cir. 2014); Amy v.

  Carnival Corp., 360 F. Supp. 3d 1345, 1354 (S.D. Fla. 2018) (“[t]hat passengers can become

  injured as a general proposition is not the specific notice required under Eleventh Circuit law”).

         The Complaint fails to plead notice because it does not articulate what facts give RCL actual

  or constructive notice about any dangerous condition associated with the open window. (ECF

  No. 1, Compl. at ¶ 37). The Complaint also does not allege RCL should have known an adult

  would raise a small child over and past a wooden rail and over the ledge of an open window

  where she would eventually fall out. This failure to articulate clear facts supporting the claim

  warrants dismissal. See, e.g., Rygula v. NCL (Bah.) Ltd., No. 18-24535, 2019 U.S. Dist. LEXIS

  147586, at *7 (S.D. Fla. Aug. 28, 2019) (dismissing negligence claim for failure to allege facts

  supporting actual or constructive notice where the plaintiff alleged injuries after jumping into a



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  pool he claimed was not adequately covered or secured and in an area were dim lighting

  prevented him from observing it was mostly drained of water); Sanchez v. Carnival Corp., No.

  19-cv-20668, 2019 U.S. Dist. LEXIS 66469, at *3 (S.D. Fla. Apr. 17, 2019) (dismissing

  negligence claims after finding that “Plaintiff does not allege any facts to support that Carnival

  knew or should have known the spiral staircase on which Sanchez was injured was a hazard, and

  if so, how long it knew.”); Brown v. Carnival Corp., 202 F. Supp. 3d 1332 (S.D. Fla. 2016)

  (“Simply stating that Carnival had knowledge of a dangerous condition, without identifying the

  dangerous condition, and/or pleading how Carnival had knowledge of the condition, is

  insufficient.”).

      Just a few weeks ago, the court in Zhang v. Royal Caribbean Cruises, Ltd., No. 19-20773,

  2019 U.S. Dist. LEXIS 199362 (S.D. Fla. Nov. 14, 2019), dismissed a passenger complaint for

  failure to sufficiently allege RCL had actual or constructive notice of the alleged dangerous

  condition. In his complaint, the plaintiff-passenger claimed that while on a Mayan ruins shore

  excursion, the bus he was traveling on struck a road hazard that flung him into the air causing

  him serious injury. Id. at *5-6. Arguably, the Zhang complaint asserted more specific allegations

  as to RCL’s notice yet it could still not survive dismissal:

                     In the face of Royal Caribbean’s motion to dismiss, Zhang insists
                     he has “unquestionably supported” his claims with sufficient facts.
                     (Pl.’s Resp. to Royal Caribbean’s Mot. at 7.) In furtherance of his
                     argument, he points to (1) a list of ten bus accidents that have
                     occurred during Royal Caribbean excursions over the last ten
                     years; (2) Royal Caribbean’s initial approval and yearly
                     inspections of the Excursion Operators; and (3) Zhang’s allegation
                     that the excursion was “unreasonably dangerous” based on the
                     “dangerous operation of the bus at high speeds in light of the road
                     conditions,” “the inadequate supervision of the bus operations,”
                     and Royal Caribbean’s lack of knowledge regarding the identity
                     and qualifications of the operator of the bus. (Id. at 7-8 (quoting
                     Compl. at ¶¶ 29-30, 59, 66-67).) None of these allegations,
                     however, either separately or together, amount to actual facts that


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                   would plausibly show that Royal Caribbean knew or had reason to
                   know that the bus Zhang rode in would be driven over a pothole in
                   such a way that would result in injury.

  Id. at *11-12.

     Here, Plaintiffs list no prior substantially similar incident or problems that would have placed

  RCL on notice of any dangerous condition associated with the open window on Deck 11. See

  generally id. at *12 (“the ten accidents Zhang lists have no apparent connection to the incident

  that resulted in Zhang’s injuries” and “‘there is no explanation as to how these incidents put

  [RCL] on notice.’” (emphasis in original and citation omitted)). Only a vague reference to “prior

  incidents” is contained in the Complaint with absolutely no expansion. (ECF No. 1, Compl. at ¶

  37). Plaintiffs fail to identify a single similar incident aboard an RCL ship where a young child

  was lifted up by an adult and dropped outside of a clearly open window. They fail to identify a

  single incident where any child has fallen or been dropped out a similar window. In fact,

  Plaintiffs fail to identify a single incident where anyone has ever fallen or been dropped out of a

  similar window such to put RCL on notice the subject window constituted an unreasonable

  dangerous condition that it needed to protect its passengers from. Plaintiffs’ generalized

  allegations regarding falls from windows (albeit completely untethered from RCL or the cruise

  line industry in general), see Compl. ¶ 23, are insufficient to satisfy the Eleventh Circuit’s

  requirement that a plaintiff identify the existence of “substantially similar” incidents to establish

  notice. Tairriol v. MSC Crociere S.A., 677 F. App’x 599, 601 (11th Cir. 2017).

     Further, Plaintiffs implicitly acknowledge their obligation to demonstrate notice of the

  allegedly unsafe condition (ECF No. 1, Compl. at ¶ 37) but they do not do not explain how RCL

  would have acquired knowledge of the alleged dangerous condition. They merely make bare

  assertions such as “through [their] maintenance and/or inspections.” (ECF No. 1, Compl. at ¶



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  37). Id. at *13 (“Zhang does not explain how any of Royal Caribbean’s alleged inspections of the

  Excursion Operators could have possibly alerted it to the dangerous condition that ultimately

  resulted in Zhang’s injuries. What was it about these inspections that should have put Royal

  Caribbean on notice?”).

     Additionally, the alleged “industry standards” do not place RCL on notice. “[N]on—

  compliance with certain industry standards does not necessarily show that the non-compliance

  amounted to a dangerous or unreasonably risky condition.” Howard-Bunch v. Carnival Corp.,

  No. 18-cv-21867, 2019 U.S. Dist. LEXIS 35024, at *17 (S.D. Fla. Mar. 3, 2019); Amy, 360 F.

  Supp. 3d at 1356 (holding that “non-binding industry standards do not establish actual or

  constructive knowledge of a risk-creating condition.”) (citing Mirza v. Holland Am. Line Inc.,

  No. C11-1971MJP, 2012 WL 5449682, at *3-4 (W.D. Wash. Nov. 6, 2012)). In Howard-Bunch,

  the plaintiff alleged she suffered injuries after she tripped and fell over a raised threshold. Id. at

  *1. She alleged the threshold violated various building codes and industry standards and that the

  failure placed the cruise operator on notice. Id at *15-16. The court, however, found that

  “[w]ithout any additional evidence of a cruise line’s knowledge of the dangerous condition at

  issue,” lack of compliance with “relevant standards and maritime regulations” cannot satisfy the

  constructive notice requirement.” Id. at *16 (citing Zygarlowski v. Royal Caribbean Cruises Ltd.,

  2013 U.S. Dist. LEXIS 200119, at *6 (S.D. Fla. Feb. 25, 2013)).

     Similarly, in Zygarlowski, a cruise passenger alleged the cruise operator was placed on notice

  that a ramp was dangerous because the slope exceeded various recommendations and standards,

  including those promulgated by the ASTM. See Zygarlowski, 2013 U.S. Dist. LEXIS 200119, at

  *14. But the court found that violation of ASTM and other standards “does not, as a matter of

  law, establish that Royal Caribbean had actual or constructive notice of an unreasonably



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  dangerous condition.” Id. The court recognized that “at most, [] Royal Caribbean had notice that

  the ramp did not comply with the guidelines,” but added that “[t]his, however, is not equivalent

  to having notice of the danger that the ramp allegedly created for cruise passengers like

  Zygarlowski.” Id at *14-15.

      While Plaintiffs contend that ASTM F2006 and 2090 applies here (ECF No. 1, Compl. at ¶¶

  26-27) they fail to explain why these guidelines would be relevant to this situation beyond the

  naked assertion. Indeed, they cannot do so because, by their own terms, the guidelines only

  apply to windows in multi-family residential dwellings. ASTM F2006 states: “This safety

  specification applies only to devices intended to be applied to windows installed at heights of

  more than 75 ft7 (23 m) above ground level in multiple family dwelling buildings.” See § 1.3

  ASTM F2006-17, Standard Safety Specification for Window Fall Prevention Devices for Non-

  Emergency Escape (Egress) and Rescue (Ingress) Windows, ASTM International (2017)

  (emphasis added). Thus, they do not apply here and cannot be considered “industry standard” in

  the cruise industry. Nonetheless, for the reasons noted above, even assuming arguendo that

  ASTM standards applied, Plaintiffs Complaint still fails to state a cause of action.

      Likewise, a shipowner’s corporate safety policies cannot act to form a duty nor could they be

  the basis of a negligence claim. Several of these rulings were decided in rejecting theories of

  liability premised on shipowner’s adoption of the International Safety Management (“ISM”)

  Code.2 See, e.g., Horton v. Maersk Line, Ltd., 603 F. App’x 791, 796-97 (11th Cir. 2015) (citing

  Aronson v. Celebrity Cruises, Inc., 30 F. Supp. 3d 1379, 1396 (S.D. Fla. 2014) (“[T]he
  2
         Under the ISM Code, each ship carrier must develop its own Safety Management System
         (SMS) which must be approved by the flag state. RCL has a Safety Management System
         which has been approved by the flag state. The complaint does not allege otherwise nor
         does it allege in what manner RCL is not in compliance with its SMS. The full text of the
         ISM is available at the International Maritime Organization’s (“IMO”) website at
         www.imo.org.


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  International Safety Management Code does not create any duties and thus cannot be the basis

  for a negligence claim against a cruise line.”); Shipton v. Carnival Corp., No. 18-25378-CIV,

  2019 U.S. Dist. LEXIS 28573, at *3 (S.D. Fla. Feb. 20, 2019) (“the ISM[C] cannot form the

  basis for a separate negligence claim nor be a part of a negligence claim.”).

        Plaintiffs’ references to other window configurations on other cruise ships, see Compl. ¶¶ 28-

  33, are similarly insufficient to establish notice. See Sofillas v. Carnival Corp., No. 14-23920-

  CIV-SCOLA/OTAZO-REYES, 2016 WL 5408168, at *2 (S.D. Fla. Apr. 13, 2016) (“direct

  evidence relating to how other cruise lines operate the hot tubs on their ships is not relevant to

  the issue of Carnival’s alleged negligence”).

        And to the extent the Complaint contends RCL created the claimed dangerous condition, this

  allegation fails to remedy the absence of pleading prior notice. See Pizzino v. NCL (Bahamas)

  Ltd., 709 F. App’x 563, 565 (11th Cir. 2017).

        The bare allegations contained throughout the Complaint are insufficient to impute any

  knowledge of the window being dangerous (especially, given that RCL may assume passengers

  will use common sense and watch out for their and their child’s safety). None of the allegations,

  either separately or together, amount to actual facts that would plausibly show RCL knew or had

  reason to know the window was dangerous.

  IV.      The failure-to-maintain claim (Count II) also fails because there are no facts
           supporting that the window area was dangerous, much less that RCL had notice of
           any danger.

        Like Count I alleging general negligence, Plaintiffs’ negligent maintenance claim also fails

  because it does not allege sufficient facts showing RCL had actual or constructive notice of any

  unsafe condition calling for maintenance. See Horne v. Carnival Corp., 741 F. App’x 607, 609

  (11th Cir. 2018) (requiring notice regarding a failure-to-maintain claim asserted by a passenger



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  against a cruise line); see generally Pizzino, 709 F. App’x 563 (rejecting the notion that a cruise

  line operator could be liable for negligence without actual or constructive notice even if it

  negligently created or maintained its premises). RCL’s liability for the negligence claims, under

  whatever negligence theory alleged by Plaintiffs in their Complaint, hinges on whether it knew

  or should have known about the dangerous condition. For the same reasons presented and

  analyzed in section III of this Motion, however, Plaintiffs have failed to allege a single fact from

  which the Court might infer RCL either knew or should have known of any dangerous condition

  relating to the window.

  V.      RCL, as a matter of law, did not have a duty to warn of an open and obvious
          condition.

       In Count III Plaintiffs allege RCL was negligent in warning them about the open window.

  (See also ECF No. 1, Compl. at ¶35, subparagraphs b. and c. also presenting failure to warn

  allegations). But RCL owes no duty to warn of open and obvious conditions. As a matter of law,

  RCL had no legal obligation to warn passengers that engaging in the reckless act of placing a

  toddler in front of an open window could result in the toddler falling out of said window.

       The standard of care owed by a shipowner to its passengers is reasonable care under the

  circumstances. See Kermarec, 79 S. Ct. at 410. A shipowner is not an insurer of its passenger’s

  safety, and as such, is not liable merely because an accident occurs. See Monteleone v. Bahama

  Cruise Line, Inc., 838 F.2d 63, 65 (2d Cir. 1988). A carrier’s duty of reasonable care includes a

  duty to warn passengers of known dangers that may not be apparent to a reasonable passenger—

  a shipowner has no duty to warn of a open and obvious condition. See Krug v. Celebrity Cruises,

  Inc., 745 F. App’x 863, 866 (11th Cir. 2018), N.V. Stoomvaart Maatschappij Nederland v.

  Throner, 345 F.2d 472 (5th Cir. 1965); Luby v. Carnival Cruises, Inc., 633 F. Supp. 40 (S.D. Fla.

  1986) (presence of a ledge behind a shower curtain open and obvious condition).


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      Here, common experience dictates that a person can fall through any open window,

  regardless of design, if they lean out too far, because a window is a purposeful opening in a

  structure for light and air3. This is not a dangerous condition but an apparent and obvious feature

  of any window. As the cited case law supports, a shipowner is entitled to assume that a passenger

  will perceive that which would be obvious to him upon the ordinary use of his own senses. See

  Smith v. Royal Caribbean Cruises, Ltd. 620 F. App’x 727, 730 (11th Cir. 2015) (finding that the

  noticeably murky color of pool water was not a condition that the cruise line needed to warn

  passengers of because a “reasonable person…would be aware of [it]”). Because of that

  entitlement there is no duty to give any warning in broad daylight of the presence of an open

  tinted window, and persons must use their senses to protect themselves from such obvious

  dangers. See Magazine v. Royal Caribbean Cruises, Ltd., No. 12-23431, 2014 WL 1274130 at *4

  (S.D. Fla. Mar. 27, 2014) (“The obviousness of a danger and adequacy of a warning are

  determined by a ‘reasonable person’ standard, rather than on each particular plaintiff’s subjective

  appreciation of the danger. Individual subjective perceptions of the injured party are irrelevant in

  the determination of whether a duty to warn existed.”) (citations omitted). Specifically, a

  shipowner could properly assume that parents would take precautions to supervise their children

  and prevent them from falling out windows (especially windows their children cannot reach

  without an adult lifting them onto it). Because the duty to warn extends only to those dangers

  that are not apparent and obvious to a passenger, Plaintiffs have failed to state a claim for failure

  to warn.
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         Plaintiff’s negligent design theory similarly fails. See e.g. Groves v. Royal Caribbean
         Cruises, Ltd., 09-20800-CIV, 2010 WL 11506631, at *2 (S.D. Fla. Dec. 8, 2010), aff’d,
         463 F. App’x 837 (11th Cir. 2012) (rejecting negligent design claim where the plaintiff
         failed to establish that RCL actually created the alleged dangerous design); Rodgers v.
         Costa Crociere, S.P.A., 410 F. App’x 210 (11th Cir. 2010); Weiner v. Carnival Cruise
         Lines, No. 11-CV-22516, 2012 WL 5199604, at *5 (S.D. Fla. Oct. 22, 2012).


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         Indeed, courts have rejected similar claims outright and held that open windows or glass

  doors constitute open and obvious conditions against which no liability can attach. See Pettigrew

  v Nite-Cap, Inc., 63 So. 2d 492 (Fla. 1953) (rejecting the plaintiff’s claim of negligence where

  she walked into a plate glass door and concluding that “the sole proximate cause of [the

  plaintiff’s] injury was her failure to see that which, by the exercise of reasonable care, she should

  have seen.”); Rodriguez v. U.S., 993 F.2d 884 (9th Cir. 1993) (“We agree with the district court

  that Republic owed Genaro no duty to warn him of the obvious danger posed by an open window

  nor to alter the window by installing safety bars or screens.”). Moreover, in this District it has

  been held, as a matter of law, that “it is open and obvious that a child could be injured by playing

  on a railing.” Amy, 360 F. Supp. 3d at 1357; compare Compl. ¶ 20 (alleging “Mr. Anello then

  lifted Chloe up onto the railing and held Chloe while she leaned forward to bang on the glass . .

  .”).

         And, again, even had Plaintiffs alleged a duty to warn, they have alleged no facts supporting

  RCL knew of any prior accidents, incidents or complaints regarding the window that would have

  placed them on notice of any dangerous condition. See Smith, 620 F. App’x at 730 (courts “need

  not even reach the defendant’s actual or constructive notice of a risk-creating condition if they

  determine that condition was an open and obvious danger.”).

  VI.       Plaintiffs fail to plead that RCL was the proximate cause of the incident.

         Plaintiffs’ allegations on causation are conclusory and plead no facts explaining how or why

  RCL’s purported breaches led to the injury. (See ECF No. 1, Compl. at ¶¶ 36, 42, and 49).

  Plaintiffs fail to tie their factual allegations to the legal claims. They plead causation in

  conclusory fashion with no explanation about how or why the alleged acts or omissions caused

  his injury.



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     A shipowner owes no duty to prevent unforeseeable incidents. The lack of foreseeability is

  dispositive, and to impose a duty of care on a shipowner, an incident must be reasonably

  foreseeable, not just theoretically foreseeable. Accordingly, a court’s determination of

  foreseeability supports a duty only to the extent foreseeability is reasonable, to bring imposition

  of duty in line with practical conduct. See generally Francis v. MSC Cruises, S.A., No. 18-

  61463-CIV-BSS, 2019 U.S. Dist. LEXIS 151255, at *9 (S.D. Fla. Sep. 5, 2019) (general

  foreseeability theory of liability has been rejected because it would convert a shipowner into an

  insurer of passenger safety). Here, a lack of reasonable foreseeability is dispositive, because RCL

  had no duty to protect against risks caused by irresponsible caregivers.

     Moreover, since the incident was not foreseeable, RCL had no duty to protect Chloe against

  Mr. Anello’s irresponsible conduct. See Monteleone, 838 F.2d at 65 (shipowner not an insurer of

  passenger safety and does not become liable merely because an accident occurs). Mr. Anello has

  been charged with negligent homicide in Puerto Rico. Critically, RCL does not have a duty to

  protect against unforeseeable acts committed by a third-party. See H.S. v. Carnival Corp., 16-

  20331-CIV, 2016 WL 6583693, at *3 (S.D. Fla. Nov. 4, 2016) (where an intervening act is the

  cause of a plaintiff’s injury, carriers may only be liable in negligence where the intervening act

  was foreseeable.), aff’d sub nom. H.S. by & through R.S. v. Carnival Corp., 727 F. App’x 1003

  (11th Cir. 2018). The threshold issue of determining whether a defendant owes this duty turns on

  whether the defendant had reason to anticipate that the third-party activity would occur on its

  premises. Knight v. Philips South Beach, LLC, NO. 09-20473, 2010 WL 11601873 at *4-5 (S.D.

  Fla. Nov. 4 2010). Absent similar past conduct, the law will not deem a third-party’s act to be

  foreseeable to the defendant. Id. Indeed, in H.S. by & through R.S. v. Carnival Corp., the

  Eleventh Circuit affirmed the dismissal of the plaintiff’s negligence claim on the grounds that the



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  plaintiff failed to allege that the intervening act by a fellow passenger which caused the

  plaintiff’s injury was reasonably foreseeable to the defendant cruise line in the absence of any

  prior similar incidents. See H.S. by & through R.S. v. Carnival Corp., 727 F. App’x at 1006

  (affirming dismissal of negligence claim where the injury causing act of a fellow passenger was

  held unforeseeable as a matter of law at the motion to dismiss stage).

     Here, Deck 11 of RCL’s cruise ship contained an open window—something one might

  reasonably expect to see on an open air deck of a cruise ship. What was unforeseeable to RCL

  was that a young child’s grandfather would engage in the reckless act of hoisting his

  granddaughter out of an open window and unfortunately causing her to fall to her demise. Based

  on the complete absence of any other similar incidents, Anello’s inexplicable conduct was in no

  way an occurrence that RCL could predict or foresee. Indeed, Plaintiffs fail to allege the

  existence of a single prior occurrence where a passenger held another family member out of an

  open window and dropped them. As such, Anello’s wrongdoing was unforeseeable as a matter of

  law.

                                             Conclusion

     RCL requests this Court dismiss the Complaint with prejudice.

   Dated: January 8, 2020

                                                    Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that on January 8, 2020, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing is being

  served this day on all counsel of record or pro se parties identified on the following Service List

  in the manner specified, either via transmission of Notices of Electronic Filing generated by

  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

  to receive electronically notices of Electronic Filing.

                                                 /s/ Jerry D. Hamilton
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